  Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 1 of 12




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Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 2 of 12
Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 3 of 12
Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 4 of 12
Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 5 of 12
Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 6 of 12
Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 7 of 12
Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 8 of 12
Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 9 of 12
Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 10 of 12
Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 11 of 12
Case 1:21-mr-00664-JFR Document 1 Filed 05/16/21 Page 12 of 12
